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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

ARGELIO PINA                                §
                                            §
                                            §       CIVIL ACTION NO. 7:15-cv-00221
VS.                                         §
                                            §       JURY DEMANDED
ALLSTATE TEXAS LLOYDS                       §

                                NOTICE OF SETTLEMENT

TO THE HONORABLE JUDGE OF SAID COURT:

       The Defendant herein would advise the Court that the parties have reached a settlement and

therefore, request that all deadlines be suspended pending documentation of settlement.

                                                    Respectfully submitted,

                                                    BY:      /s/ Rosemary Conrad-Sandoval
                                                    Rosemary Conrad-Sandoval
                                                    Attorney-in-charge
                                                    State Bar #04709300
                                                    Federal ID #13738

                                                    Of Counsel
                                                    ROERIG, OLIVEIRA & FISHER, L.L.P.
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                                                    ATTORNEYS FOR DEFENDANT
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                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that a true and correct copy of the foregoing Notice of

Removal has been sent via electronic messaging, to the Attorney for Plaintiff, as follows:


Jose Luis Flores
LAW OFFICE OF JOSE LUIS FLORES
1111 W. Nolana
McAllen, Texas 78504

on this 22nd day of March, 2016.


                                                      /s/ Rosemary Conrad-Sandoval
                                                     ROSEMARY CONRAD-SANDOVAL
